Case 9:18-cv-00027-TH-ZJH Document 36 Filed 07/27/22 Page 1 of 1 PageID #: 233




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE EASTERN DISTRICT OF TEXAS

                                      LUFKIN DIVISION

DENNIS WAYNE HOPE                               §

VS.                                             §                 CIVIL ACTION NO. 9:18cv27

TODD HARRIS, ET AL.                             §

                                            ORDER

       Pending before the court are the defendants’ Motions to Substitute Counsel (ECF Nos. 31
and 35). In their first Motion, the defendants request permission to substitute Assistant Attorney
General Evan W. Weltge as lead counsel of record to replace Amy Prasad. In their second
Motion, the defendants request to substitute Assistant Attorney General Sheaffer K. Fennessey in
the place of Evan W. Weltge. After due consideration, the court is of the opinion that the
defendants’ Motions should be granted. It is therefore
       ORDERED that the defendants’ Motions to Substitute Counsel are GRANTED.
Accordingly, it is
       ORDERED that Assistant Attorney General Sheaffer K. Fennessey is substituted as
Attorney-in-Charge for the defendants and Assistant Attorneys General Amy Prasad and Evan W.
Weltge are withdrawn.


       SIGNED this 27th day of July, 2022.




                                                    _________________________
                                                    Zack Hawthorn
                                                    United States Magistrate Judge
